Case 3:16-cr-00411-VC Document 116-22 Filed 09/19/17 Page 1 of 3




                   Exhibit 22
                            Case 3:16-cr-00411-VC Document 116-22 Filed 09/19/17 Page 2 of 3
(22445 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                     6/29/17, 7)20 PM


    Home         Mail   Search       News      Sports      Finance         Celebrity   Weather       Answers       Flickr     Mobile      More


                                     All     Naum Morgovsky, search your mailbox                        Search Mail          Search Web            Home         N



                                janos weapon sight lenses
                                                         FW: Lens prints

     Compose                          Search results                         Archive      Move            Delete       Spam              More


  Inbox (9999+)                      FW: Lens prints
  Drafts (211)

  Sent                               Devin Standard <Devin.Standard@Janostech.com>                                 10/23/13 at 8:56 AM
                                     To Naum Morgovsky
  Archive
                                     CC Paul Oliveira, marcvayn@gmail.com, jmunn@atncorp.com, John Therriault
  Spam (18)                                                                                                                                      PET PIZAZZ 100% WOOL
                                     Hi Naum:                                                                                                     ECO-FRIENDLY CAT …
  Trash
                                     Please find attached the email I sent, together with the drawings of the Non-ITAR lenses, on
  Smart Views                        3/18/13.
                                     These are the part numbers I quoted you on 5/22/13.                                                           $11.95
    Important                        If you are available at 1PM EST we should have a discussion.
    Unread                           Let me know if that time works for you.
                                     Thank you.
    Starred                          Rgds,
    People                           Devin

    Social
    Shopping                         From: Devin Standard
    Travel                           Sent: Monday, March 18, 2013 4:53 PM                                                                        STAINLESS STEEL MIXING
                                     To: Naum Morgovsky                                                                                           BOWLS BY FINEDINE …
    Finance                          Cc: John Therriault                                                                                           $22.95
    silverman                        Subject: Lens prints
    mseymour
                                     Hi Naum:
    bartfield                        I hope you are well.
    montgomery                       Our compliance guy told me that if we develop a brand new design for a weapon sight that that
                                     falls under ITAR restrictions.
    seymour                          As a Non-ITAR option, we can supply you with a 100, 50 and 35mm developed for a security
    rosas                            camera application.
                                     Take a look at the attached lens prints(50mm & 100mm) to see if they will work for you.
    cheo                             If so, I will forward the prints for the 35 as well.                                                          THERMOPRO TP03A
                                                                                                                                                    DIGITAL FOOD …
                                     Rgds,
  Folders
                                     Devin                                                                                                         $10.49
    Drafts
    Notes
    Sent Messages
    untitled

  Sponsored

                                     northwin….pdf




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                               Case 3:16-cr-00411-VC Document 116-22 Filed 09/19/17 Page 3 of 3
(22825 unread) - naummorgovsky@yahoo.com - Yahoo Mail                                                                                                           8/22/17, 3)39 PM


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                                        All     Naum Morgovsky, search your mailbox                             Search Mail       Search Web             Home          N



                                   Re: Lens prints
                                             Re: FW: Naum
                                                      Re: lensesRe:
                                                                 in space
                                                                    Lens set
                                                                          RE:quote
                                                                              Lens set
                                                                                   Re:quote
                                                                                       50mm,Re:
                                                                                             100mm
                                                                                                TWS Lens
                                                                                                    Revision
                                                                                                         quoteRe: FollowRE:
                                                                                                                         up FollowRe:
                                                                                                                                   upFollowRe:
                                                                                                                                            up Revision
                                                                                                                                                     Re: Revision
                                                                                                                                                               Re: Revised
                                                                                                                                                                        Re:quote
                                                                                                                                                                            Revised quo

     Compose                                            Archive         Move           Delete      More


                                        Re: Revised quote
                                                                                                                                                       What
  Inbox (9999+)
  Drafts (228)
                                                                                                                                                       are the
  Sent                                  Naum Morgovsky <naummorgovsky@yahoo.com>                                       05/23/13 at 12:08 PM            best new
  Archive
                                        To Devin Standard                                                                                              sedans
  Spam (42)                             Devin,                                                                                                         for 2017?
  Trash
                                        The PO is coming up today from ATN. None lenses are needed in June.                                              Search Now
  Smart Views

    Important                           Important urgent questions:
                                        1) Do you have in stock non-ITAR lenses?
    Unread
                                        2) Are any dimensions and distances pertaining to non-ITAR lenses any different
    Starred                             than those pertaining to the ITAR ones we previously bought from you? This is
    People                              crucially important because we are ordering 600 sets of parts for lens housings with
    Social                              internal focusing and need to know for sure what design changes, if any, need to be
    Shopping
                                        made in order to use the non-ITAR lenses.
    Travel                              Regards, Naum
    Finance
    silverman
    mseymour
                                        From: Devin Standard <Devin.Standard@Janostech.com>
    bartfield
                                        To: Naum Morgovsky <naummorgovsky@yahoo.com>
    montgomery                          Sent: Thursday, May 23, 2013 7:31 AM
    seymour                             Subject: RE: Revised quote
    rosas
                                        Naum:
    cheo
                                        How many lenses do you need during the month of June?
  Folders                               An9cipa9ng your PO, we need to ensure we have suﬃcient material on hand.
    Drafts
                                        Devin S. Standard
    Notes
                                        Senior Account Manager
    Sent Messages                       Janos Technology
    untitled                            The Power of Focus
                                        WWW.JanosTech.com
  Sponsored                             Devin.Standard@Janostech.com
                                        (603) 313-2502




                                                                               -- Booth #1463
  Parents Dome
  You Will Never Believe Who
  This Star Is!
                                        From: Naum Morgovsky [mailto:naummorgovsky@yahoo.com]
                                        Sent: Wednesday, May 22, 2013 1:33 PM
                                        To: Devin Standard
                                        Subject: Re: Revised quote

                                        Hi Devin,

                                        We greatly appreciate your cooperation.
                                        Is it acceptable if the PO is issued by ATN and be subject to the ATN's credit terms
                                        with Janos?

                                        Best wishes, Naum


   Try the new Yahoo Mail               From: Devin Standard <Devin.Standard@Janostech.com>



https://mg.mail.yahoo.com/neo/launch?.rand=bfv46471ca0e4#6026525019                                                                                                   Page 1 of 1
